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 7 United States of America
 8
 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:12-CR-198 MCE
12
                                   Plaintiff,           MOTION AND ORDER TO DISMISS
13                                                      INDICTMENT AS TO JOSEPH MIRANTE
                             v.
14
     JOSEPH MIRANTE,
15
                                   Defendant.
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            The United States Attorney's Office, pursuant to Rule 48(a) of the Federal Rules of Criminal
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     Procedure, hereby moves to dismiss the indictment against JOSEPH MIRANTE without prejudice in the
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     interest of justice. I have spoken with Scott A. Sugarman, counsel for Mr. Mirante, and he stated that he
20
     has no objection to this request.
21
22 Dated: October 17, 2014                                   BENJAMIN B. WAGNER
                                                             United States Attorney
23
24                                                           /s/ MICHAEL D. ANDERSON
                                                             MICHAEL D. ANDERSON
25                                                           OLUSERE OLOWOYEYE
                                                             Assistant United States Attorney
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      MOTION AND ORDER TO DISMISS                        1
      INDICTMENT AS TO JOSEPH MIRANTE
            Case 2:12-cr-00198-MCE Document 484 Filed 10/27/14 Page 2 of 2


 1                                      FINDINGS AND ORDER

 2         The indictment in the above captioned case is DISMISSED against defendant JOSEPH

 3 MIRANTE without prejudice in the interest of justice. The United States’ Motion to Dismiss (ECF No.
 4 483) is GRANTED.
 5                IT IS SO ORDERED.

 6 Dated: October 24, 2014
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      MOTION AND ORDER TO DISMISS                    2
      INDICTMENT AS TO JOSEPH MIRANTE
